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Attorneys for Defendants Gavin Newsom and the
California Department of Corrections and
Rehabilitation
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           EXHIBIT A
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CDCR                                                            INCIDENT REPORT PACKAGE                                        PAGE:    21
REPORT NO.                                                                                                                PROCESSED: 09/23/2020 10:00
                                                      INCIDENT LOG NUMBER:                                                REQUESTOR: A. Lugo

                                                                       STAFF NARRATIVE

                            STAFF NAME: Katravas, A                                                    NARRATIVE TYPE: Supplemental Report
                         CREATED DATE: 04/15/2020                                                         CREATED TIME: 14:50:46

                                                                         NARRATIVE

  While assigned to C1 Floor #2, I was monitoring the morning medication line at the podium on the dayroom floor when I observed Inmate               walk up from
  behind Inmate           next to the Counselor's office in the A Section Dayroom. I observed Inmate         holding what appeared to be an Inmate manufactured
  weapon black in color in his right hand.      began making downward stabbing motion on                  back and side area. I yelled "Get down!" and heard the
  building alarm being activated. As I approached          I observed Inmate           quickly step away from       and get down in a prone position on the floor. I
  observed        throw down the weapon towards the rotunda and then turn around and submit to handcuffs. I was not able to handcuff              because he was
  wearing a medical device on his left arm. I escorted        to the Lower B shower in order to secure the scene. I instructed the control booth officer to turn off
  the water to the shower. Officer M. Quintero notified me that the water was off and the inmate had no access to water. I continued to monitor the inmate until
  responding staff arrived.       was escorted out of the building without further incident. This concludes my involvement.

   A. Katravas                                                                                               DATE: 04/15/2020
  STAFF SIGNATURE

                                                                                                            PERNR: 27603
                                         BADGE #: 77753

                        NARRATIVE REVIEWED: Yes                                            REVIEWED BY STAFF: Barbato, D
                                REVIEWED DATE: 04/15/2020                                       REVIEWED TIME: 15:00:01



                            STAFF NAME: Granados, E                                                    NARRATIVE TYPE: Initial Report
                         CREATED DATE: 04/15/2020                                                         CREATED TIME: 15:51:53

                                                                         NARRATIVE

  While assigned to Facility C, Housing Unit #1 floor #1. I was monitoring the morning medication pill line at the podium. I turned towards the "A" section
  dayroom of the building and observed Inmate           strike Inmate           two (2) times with his right fist on the right side of       ' Back. I observed
  back away about 5-6 steps from inmate           . I immediately order in a loud voice everyone get down and everyone complied with the exception on inmate
          I then heard the building alarm sound. I observed Correctional Officer A. Katravas approach            and order him to submit to handcuffs. Katravas was
  unable to secure         in handcuffs due to a medical assistive device. Katravas ordered       to walk towards the B section shower in order to secure any further
  threat. Responding staff arrived to the building and Correctional Officer M. Galvez handcuffed             and assisted him on his feet. As I walked back towards
  the exit door, I observed what appeared to be an inmate manufactured weapon in between the rotunda door and the counselor's office door in the general
  vicinity of the incident. I retrieved the inmate manufactured weapon wrapped it in latex gloves and placed it in my left cargo pocket. Responding staff escorted
  both inmates out of the housing unit without further incident. I proceeded to C/D sub-evidence room to process the inmate manufactured weapon. The inmate
  manufactured weapon measured approximately 8 inches long by of an inch in width, made of a white cloth handle and black metal sharpened to a tip. I placed
  the weapon in C/D Sub-Evidence Room Locker #2 in the. This concludes my involvement.

   E. Granados                                                                                               DATE: 04/15/2020
  STAFF SIGNATURE

                                                                                                            PERNR: 108288
                                         BADGE #: 90473

                        NARRATIVE REVIEWED: Yes                                            REVIEWED BY STAFF: Barbato, D
                                REVIEWED DATE: 04/15/2020                                       REVIEWED TIME: 16:21:20
